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                                          STATE OF NEW YORK
                                    OFFICE OF THE ATTORNEY GENERAL

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ATTORNEY GENERAL                                                                               LITIGATION BUREAU
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                                                January 14, 2022
    BY ECF
    Honorable Vincent Marrero
    United States District Judge
    Southern District of New York
    500 Pearl Street
    New York, NY 10007

    Re:     Civil Rights Corps, et al. v. Georgia Pestana, et al., 21-cv-9128 (VM)

    Dear Judge Marrero:

            The Office of the Attorney General (“Office”) represents Defendants Andrea E. Bonina,
    and Hector LaSalle, a Justice of the Supreme Court of the State of New York, Appellate Division
    in the above-referenced action. We write in response to Plaintiffs’ motion to unseal Exhibits 1
    through 7 (“Exhibits”) of the Complaint, dated November 4, 2021. (ECF 1, 9).

           For the reasons outlined in this Office’s January 5, 2022 to Plaintiffs’ counsel, this Court
    should abstain from unsealing the Exhibits, as the Court lacks subject matter jurisdiction to
    proceed in this case altogether. See ECF 41 (outlining three independent abstention doctrines).

             At present, Judiciary Law § 90(10) (“Section 90(10)”) must be deemed constitutional.
    The statute states in part that “all papers, records and documents upon the application or
    examination of any person … upon any complaint, inquiry, investigation or proceeding relating
    to the conduct or discipline of an attorney or attorneys, shall be sealed and be deemed private and
    confidential.” Plaintiffs have alleged both facial and as applied constitutional challenges to this
    statute, see ECF 1 at ¶¶ 91-105, but no rulings on the merits have been made.

            To consider the unsealing of the Exhibits, the Court will need to evaluate the scope of the
    confidentiality protections in Section 90(10). That process will inevitably reach the merits of this
    case prematurely. This Court has made this observation in at least one other proceeding and
    developed an approach that retained broad access to “judicial documents,” but also recognized
    the need for “closure as essential to preserve higher values.” See Doe v. Ashcroft, 317 F. Supp.
    2d 488, 491-492 (S.D.N.Y. 2004) (holding that the underlying statute's non-disclosure provision
    and the national security concerns related to the possibility of disclosing necessitated the limited
    sealing of documents filed).




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        By initially filing the Exhibits under seal, Plaintiffs have recognized, at least partially,
that the statute should be treated as constitutional, and that “all papers” relating to the
“investigation” of the former and current Queens County prosecutors should remain under seal
pursuant to Section 90(10) pending resolution of the investigation. See ECF 9. Paragraphs 7-8,
57-58, 67, 70-72, 74 of the Complaint either reference or quote from the Exhibits, which
arguably violates privacy concerns cited by Plaintiffs in Paragraph 103 of the Complaint and
recognized by the New York State Court of Appeals. See ECF 1 at ¶ 103. Neither this Office nor
any of the State Defendants were afforded an opportunity during the initial proceeding (21-mc-
00792) to seek a protective order to request limited redactions for the 107-paragraph pleading.
To unseal the Exhibits now would compound the violations of confidentiality required by
Section 90(10) unless “good cause” has been shown under the statute.

       Thank you for your time and consideration in this matter.

                                                 Sincerely,

                                                 /s/ Elizabeth A. Figueira
                                                 Elizabeth A. Figueira
                                                 Assistant Attorney General




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